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UNITED STATES DISTRICT COURT
DISTRICT OF NEW JERSEY

 

JESSE WATKINS, et al.,
Civil Action No, 19-59 (MAS) (LHG)

Plaintiffs,
Vv. : ORDER
GARY M. LANIGAN, et al.,

Defendants.

 

Plaintiffs Jesse Watkins and Clint Walker, prisoners housed at New Jersey State Prison,
seek to bring this civil action, asserting claims pursuant to 42 U.S.C. § 1983. (Compl., ECF No.
1.) Plaintiffs have neither prepaid the filing fee as required by 28 U.S.C. § 1914, nor has each
Plaintiff submitted an independent application to proceed in forma pauperis, as required by 28
U.S.C. § 1915(a). See Parker v. Moran, No. 14-1741, 2014 WL 4930796, at *1 (D.N.J. Oct. 2,
2014) (“[w]here more than one prisoner seeks to join in a complaint against a government official
or entity, the plaintiffs may prepay a single $400.00 filing fee or seek [independent] in forma
pauperis status.”) (citing Hagan v. Rogers, 570 F.3d 146, 150 (3d Cir. 2009)).

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ORDERED that the Clerk of the Court shall ADMINISTRATIVELY TERMINATE
this case; Plaintiffs are informed that administrative termination is not a “dismissal” for purposes
of the statute of limitations. See Papotto v. Hartford Life & Acc. Ins. Co., 731 F.3d 265, 275 (3d
Cir. 2013) (distinguishing administrative terminations from dismissals); Jenkins v. Superintendent

of Laurel Highlands, 705 F.3d 80, 84 n.2 (3d Cir. 2013) (describing prisoner mailbox rule
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generally); Dasilva v. Sheriff's Dept., 413 F. App’x 498, 502 (3rd Cir. 2011) (per curiam) (“[The]
statute of limitations is met when a [motion] is submitted to the clerk before the statute runs[.]’’);

ORDERED that the Clerk shall send both Plaintiffs the form entitled Affidavit of Poverty
and Account Certification (Civil Rights)(DNJ ProSe 007 A(Rev. 5/13)) to be used by Plaintiffs in
any future application to proceed in forma pauperis:

ORDERED that iif Plaintiffs wish to reopen this case, they shall so notify the Court, in
writing, within 45 days of the date of entry of this Order: Plaintiffs’ writing shall include either
(1) a complete, signed in forma pauperis application for both Plaintiffs, including a certified six-
month prison account statement for each Plaintiff, or (2) the $400 fee including the $350 filing fee
plus the $50 administrative fee;

ORDERED that upon receipt of a writing from Plaintiffs stating that they wish to reopen
this case, and either the completed in forma pauperis applications or payment of the filing and
administrative fees within the time allotted by this Court, the Clerk of the Court will be directed
to reopen this case; and it is further

ORDERED that the Clerk shall serve a copy of this Order upon Plaintiffs by regular
mail.

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MICHAEL A.SHIPP
UNITED STATES DISTRICT JUDGE
